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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW MEXICO

THE UNITED STATES OF AMERICA,

             Plaintiff,

      vs.                                                          No. CR 05-1849 JH

DANA JARVIS, et al.,

             Defendants.

                 DEFENDANTS’ JOINT MOTION TO
                 COMPEL DISCOVERY RELATED TO
       THE INTERCEPTION OF ELECTRONIC COMMUNICATIONS

      The Defendants who are represented by court-appointed counsel, by and

through undersigned counsel, hereby jointly request this Honorable Court to order

the Government to produce documents and materials necessary to determination

whether or not the government has complied with the necessity and minimization

requirements of Title III of the Omnibus Crime Control and Safe Streets Act of 1968,

as amended, 18 U.S.C. § 2510-22. These records are necessary for the vindication of

the Defendants’ fundamental constitutional right to freedom from unreasonable

searches and seizures as protected by the Fourth Amendment.            Allowing the

government to continue to conceal important documents relating to the legality of

the wiretap in this case thwarts Congress’s purpose in enacting Title III, prevents an
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independent determination by this Court of the legality of the government’s conduct

of the wiretap in this case, and very will likely lead to unnecessary delay in the

course of these proceedings, wasting scarce judicial resources.

1.    The Defendants formally requested that the Government produce
      documents and materials directly relevant to the issue of the
      Government’s violation of Title III and the Fourth Amendment.

      On May 8, 2006, the Defendants formally requested the Government to

produce these documents. See Attachment A. Each of the seventeen types of

documents specifically identified in the Defendants’ formal written discovery

request is material to (1) the question whether the government showed the necessity

for a wide-ranging and intrusive wiretap, and/or (2) the question whether the

government complied with mandatory Title III restrictions regarding minimization

of the interception of private conversations not related to the investigation.

Defendants intend to bring a motion to suppress evidence obtained as a result of the

wiretap on grounds that there was no necessity for the wiretap in this case and the

government violated minimization requirements.




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A.    The seventeen specific types of documents requested and the particular
      suppression issues to which they are material.

      First, the Defendants requested that the Government produce “[r]eports,

sometimes known as ‘ten-day reports,’ pertaining to the interception of electronic

communications in this case.” Exhibit A at 1, ¶ 1. This is material to determining

whether or not the government had a need to perpetuate the invasive interception

of private telephone conversations.

      Second, the Defendants requested that the Government produce “[c]hain of

custody records for the original recordings of the electronic communications

intercepted and recorded during the course of electronic surveillance in this case.”

Exhibit A at 1, ¶ 2. This is material to determining whether or not the government

complied with Title III’s specific requirements for the handling, dissemination, and

preservation of the intercepted communications.

      Third, the Defendants requested that the Government produce “Drug

Enforcement Administration and/or task force policy regarding approval of a

request from an appropriate judicial branch official for an order authorizing the

interception of electronic communications; DEA and/or task force policy regarding

the monitoring of electronic communications; and names and titles of individuals




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in the chain of command regarding the approval of a request for authorization to

intercept electronic communications pertaining to this case.” Exhibit A at 1-2, ¶ 3.

These records are material to determining whether or not the government violated

its own policies and Title III when it sought and obtained a court order authorizing

the wiretap.

      Fourth, the Defendants requested that the government produce “[a]ll pen

register records and printouts pertaining to this investigation, any of the defendants

in this case, or any factual allegation made or individual referred to in the affidavits

of DEA Special Agent Richard L. Stark.” Exhibit A at 2, ¶ 4. The pen registers and

related documents and materials are material to determining whether or not the

government had a legitimate investigative need for the intrusive step of intercepting

a vast number of private telephone conversations.

      Fifth, the Defendants requested that the Government produce “[n]et worth

investigation records pertaining to this investigation, any of the defendants in this

case, or any factual allegation made or individual referred to in the affidavits of DEA

Special Agent Richard L. Stark.” Exhibit A at 2, ¶ 5. These net worth records are

material to determining whether or not there was any necessity for this wiretap.




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      Sixth, the Defendants requested that the government produce “[r]eports

regarding any aspect of this case prepared by any financial analyst, accountant,

investigator or other individual consulted by DEA Special Agent Richard L. Stark

or other law enforcement officials in the course of this investigation.” Exhibit A at

2, ¶ 6. These financial records are material to determining the need for the wiretap.

      Seventh, the     Defendants requested      that   the   Government produce

“[a]udiotapes or similar records of any physical surveillance or consensual

monitoring (wires) pertaining to this investigation, any of the defendants in this

case, or any factual allegation in the affidavits of DEA Special Agent Richard L

Stark.” Exhibit A at 2, ¶ 7. These surveillance records pertain directly to the

question whether there was any legitimate investigative need for the Government

to intercept private telephone communications.

      Eighth, the Defendants requested that the Government produce “[c]ellular or

long-distance toll records, including records of the duration of telephone calls, or

anything similar, such as those referenced in ¶ 70 of the first affidavit of DEA

Special Agent Richard L. Stark or pertaining to this investigation, any of the

defendants in this case, or any factual allegation in the affidavits of DEA Special

Agent Richard L. Stark.” Exhibit A at 2, ¶ 8. These telephone records pertain


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directly to the issue whether there was any legitimate investigative need for the

government to intercept private telephone communications.

      Ninth, the Defendants requested that the government produce “[a]ny state or

federal grand jury transcripts pertaining to this investigation, any of the defendants

in this case, or any individual named in the affidavits of DEA Special Agent Richard

L. Stark.” Exhibit A at 2, ¶ 9. These transcripts are material to the question of

necessity for the wiretap.

      Tenth, the Defendants requested that the government produce “[m]emoranda

or any record in an electronic or paper form, not to exclude law enforcement original

notes, regarding any payments, vetting, polygraph records, drug testing,

agreements, and any other information pertaining to reliability or lack of reliability

of confidential informants, confidential sources, cooperating witnesses, or any other

sources of information by any description, pertaining to this investigation, any of the

defendants in this case, or any factual allegation made or individual referred to in

the affidavits of DEA Special Agent Richard L. Stark.” Exhibit A at 2, ¶ 10. These

records regarding informants and similar sources of information are material to the

question of necessity for the wiretap.




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      Eleventh, the Defendants requested that the government produce “[r]ecords

of any other wiretap or interception of electronic communications that were used as

a basis for any factual allegation in the affidavits of DEA Special Agent Richard L.

Stark, or are pertinent to any aspect of this investigation or any of the defendants in

this case.” Exhibit A at 2, ¶ 11. These records regarding any other wiretaps are

material to the question of necessity for the wiretap.

      Twelfth, the Defendants requested that the government produce “[r]ecords

pertaining to the detention, imprisonment, incarceration, probation, supervision, or

parole of any individual referred to in the affidavits of DEA Special Agent Richard

L. Stark.” Exhibit A at 2, ¶ 12. These records regarding these individuals are

material to the question of the necessity for the wiretap.

      Thirteenth, the Defendants requested that the government produce “[l]ogs,

reports, records, original notes, or any other record created by any method

pertaining to physical surveillance of any individual named in the affidavits of DEA

Special Agent Richard L. Stark. The materials sought in this request include records

created by any method that may be used to preserve evidence gathered during or

as a result of physical surveillance or that may be used to refresh law enforcement

recollection.” Exhibit A at 3, ¶ 13. These physical surveillance records are material


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to the question of necessity for the wiretap.

      Fourteenth, the Defendants requested that the government produce “[a]ny

record created by any method, including sign-in and sign-out logs, or similar

records, for the wiretap facility or room, indicating the dates and times that each

individual involved in the interception of electronic communications in this case

entered and exited the wiretap facility or room.” Exhibit A at 3, ¶ 14. These records

are material to determining whether or not the monitoring agents complied with

Title III requirements with respect to minimization.

      Fifteenth, the Defendants requested that the government produce “[a]ny

record created by any method, such as minimization logs or similar records,

regarding the minimization of interception of electronic communications that are

unrelated to this investigation.” Exhibit A at 3, ¶ 15. These records are material to

determining whether or not the monitoring agents complied with Title III

requirements with respect to minimization.

      Sixteenth, the Defendants requested that the government produce “[a]ny

record created by any method regarding the minimization training received by the

monitors of the interception of electronic surveillance in this case. The records

sought in this request include minimization instructions, minimization training


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manuals, materials used in minimization instruction or training, sign-in sheets or

similar records pertaining to attendance at the training sessions, and training

records. The records sought in this request also include any record created by any

method memorializing where and when each individual conducting monitoring in

this wiretap received training, such as, but not limited to a sign-in sheet for such

training. The records sought in this request also include a copy of any item posted

at the monitoring facility or room which apprises the monitors of the minimization

procedures, requirements or guidelines.” Exhibit A at 3, ¶ 16. These records are

material to determining whether or not the monitoring agents complied with Title

III requirements with respect to minimization.

      Seventeenth and finally, the Defendants requested that the government

produce “[a]ny reports by prosecuting officials in the United States Attorney’s Office

for the District of New Mexico to the Administrative Office of the United States

Courts, that include information pertaining to the applications for interception of

wire communications in this case.” Exhibit A at 3, ¶ 17. These reports are material

to determining whether or not the government violated Title III requirements in the

process of obtaining and executing this wiretap.




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      B.     The legal basis for production of the documents and materials.

      In the formal written request to the government, the Defendants cited as

grounds for the production of these documents, Paragraph 2(C) of the discovery

Order entered on August 29, 2005, by the Honorable Alan C. Torgerson, United

States Magistrate Judge, Title III of the Omnibus Crime Control and Safe Streets Act

of 1968, as amended, 18 U.S.C. § 2510-22, the United States Constitution, and other

applicable laws. See Exhibit A at 1.


2.    The Government has refused to disclose records and documents that
      are necessary for a determination by the Court whether the
      government violated Title III or the Fourth Amendment.

      The government largely rebuffed the Defendants’ request, refusing to disclose

virtually all of the types of documents identified in the Defendants’ May 8, 2006

letter. See Exhibit B at 1-3. The government claimed that the documents requested

are“not subject to” or are “exempt from” disclosure under Rule 16, see Ex. B at 2, ¶¶

3, 4, 7, 8, 10; Ex. B at 2, ¶¶ 12, 13, 14, 15 and 17, that disclosure of the documents is

“not mandate[d]” by Rule 16, see Ex. B at 1, ¶ 1, that the government does not intend

to introduce testimony regarding the requested material at trial, see Ex. B at ¶¶ 7,

13, and other miscellaneous grounds, see, e.g., Ex. B at ¶¶ 6, 7, 9, 10 and 12. With

respect to a relative handful of documents, the government stated that it had


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disclosed some documents and would disclose other documents in the future. See

Ex. B at ¶¶ 2, 5, 7, 12.

       In essence, the government’s position is that the Defendants are not entitled

to the disclosure of any additional documents related to the necessity for the wiretap

or the minimization of unrelated conversations during the wiretap. The government

attempts to erect a shield behind which it may protect from disclosure to the court

and to counsel evidence that is material to determining whether it has complied

with the requirements of Title III and the Fourth Amendment. The government’s

position is untenable. It may not suppress evidence that is material to determining

whether or not it has violated Title III or the Fourth Amendment.

3.     There is no legal basis for the government’s refusal to disclose
       material, relevant records and documents pertaining to the necessity
       and minimization requirements of Title III and the Fourth
       Amendment.

       The defendants requested documents, records, and materials relevant to two

issues: the necessity for a wiretap, and minimization requirements. The disclosure

of these documents is necessary for defendants to meet their burden in a motion to

suppress and a hearing on the motion to suppress. The defendants need access to

these documents and materials in order to demonstrate that the government has



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failed to show the necessity for a wiretap and that the government violated the

minimization requirements of Title III.

      The untenability of the government’s refusal is best demonstrated by

reference to several specific examples of types of documents. See discussion infra.

With respect to each of the categories of documents discussed below, the defendants

requested the documents from the government in writing, the government refused

to disclose the requested documents, and the need for disclosure of the documents

to the defendants is firmly grounded in the law interpreting Title III. The ensuing

discussion demonstrates the need for intervention by this Court to order the

government to disclose documents that are needed not only by the defendants but

also by the court.   If the government is allowed to continue to conceal these

documents, the congressional purpose in enacting Title III will be thwarted,

undermining public confidence in the administration of criminal justice,           and

unnecessary delays in the course of the proceedings in this case are likely to result,

leading to waste of scarce judicial resources.




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      A.     Surveillance and other records pertaining to necessity.

      The government has refused to disclose the records related to surveillance

requested by the defendants. See Ex. A at 2, ¶ 7; id. at 3, ¶ 13. The only grounds for

this refusal is the assertion that the government does not intend to introduce

testimony at trial relating to the surveillance. See Ex. B at 2, ¶ 7; id. at 3, ¶ 13. The

government has missed the point. The need for disclosure of these records stems

from the defendants’ impending challenge to the legality of the extensive wiretap

in this case. The government’s stated intention regarding trial testimony provides

no support for continuing to conceal these important records from court and

counsel.

      The government’s surveillance records prior to the application for the wiretap

contain material evidence that is central to the court’s determination whether or not

the government complied with Title III and the Fourth Amendment by seeking a

wiretap. These records go to the question of necessity. The need for the wiretap is

a function of the state of the government’s investigation prior to application for the

wiretap order. It can be viewed as the flip-side of probable cause—the more

probable cause the government has to support the wiretap, the more likely it is that

there is no necessity for the wiretap. As the Tenth Circuit observed, Congress


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intended for law enforcement agencies to use less intrusive investigative techniques

prior to conducting a wiretap. See United States v. Castillo-Garcia, 117 F.3d 1179,

1185 (10 th Cir. 1997), overruled on other grounds in United States v. Ramirez-

Encarnacion, 291 F.3d 1219 (10 th Cir. 2002) (changing standard of review on appeal).

To satisfy this congressional purpose, a number of specific steps are taken. First, law

enforcement agencies are required to provide “a full and complete statement,” 18

U.S.C. § 2518(1)(C), as to whether normal investigative techniques have been tried,

what results they produced, and so forth.        Castillo-Garcia, 117 F.3d at 1185.

Second, the issuing judge is required to make an independent assessment of the

sufficiency of law enforcement agencies’ efforts via normal investigative techniques

to expose the crime. Id. Evidence obtained in violation of these requirements must

be suppressed. Id. Third, if the defendants challenge the necessity of a wiretap,

they must show that the necessity requirements under Title III were not met. See id.

at 1186. Fourth, the trial court makes an independent determination whether or not

the government has complied with Title III (and Fourth Amendment) requirements.

The government’s showing with respect to compliance with the necessity

requirement is measured in “a practical and common sense fashion.” Castillo-

Garcia, 117 F.3d at 1187. The trial court must “undertake a consideration of all the


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facts and circumstances in order to determine whether the government’s showing

of necessity is sufficient to justify a wiretap.” Id.

       The Tenth Circuit has articulated the requirements for a showing of necessity

clearly and explicitly:

      To obtain an electronic surveillance order, the government must
      explain fully in its application what investigative techniques have been
      tried against the target of the wiretap. 18 U.S.C. §§ 2518(1)(c), 2518(3)(c)
      (1994). If any of the four categories of normal investigative techniques
      referred to in the legislative history of Title III have not been tried, the
      government must explain with particularity why each of such untried
      techniques would be either unsuccessful or too dangerous. Those
      investigative procedures are: (1) standard visual and aural surveillance;
      (2) questioning and interrogation of witnesses or participants
      (including the use of grand juries and the grant of immunity if
      necessary); (3) use of search warrants; and (4) infiltration of
      conspiratorial groups by undercover agents or informants. In addition,
      if other normal investigative techniques such as pen registers or trap
      and trace devices have not been tried, a similar explanation must be
      offered as to why they also would be unsuccessful or too dangerous.
      We add pen registers and trap and trace devices to this list because
      they possess a logical relationship and close affinity to wiretaps and
      yet are less intrusive. Thus, unless the government can show that they
      would be ineffective or dangerous they must be tried before resorting
      to wiretaps.

117 F.3d at 1187-88. In order for the defendants to meet their burden, and for the

court to make its independent assessment, the records pertaining to the

investigation undertaken by the government prior to application for a wiretap order




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must be disclosed. The government’s continued concealment of these important

records cannot be squared with the clear Congressional and Tenth Circuit mandates

regarding Title III.

      B.     Ten-day reports filed with the court that issued the wiretap.

      With respect to progress reports filed by the government with the court that

issued the wiretap, the government asserts that it may continue to conceal these

reports. See Ex. B at 1, ¶ 1. The government relies on United States v. Chimera, 201

F.R.D. 72, 77 (W.D.N.Y. 2001), in which the documents requested in that case were

not material to the particular grounds advanced in that case.          Although the

documents requested in Chimera might not have been material in the particular

circumstances of that case, it does not follow that the progress reports concealed by

the government in this case are not material to the issue of necessity in this case.

      There is no controlling law in this Circuit of which undersigned counsel is

aware that addresses this question. There is, however, case law from a federal

district court in the Fifth Circuit requiring the government to disclose “10-day

progress reports filed by the government with the judges who issued the

surveillance orders.” See United States v. Cleveland, 1997 WL 2554, *4 (E.D. La.

1997) (unpublished opinion available on Westlaw). The government’s position


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cannot be squared with the court’s holding in Cleveland that the government is

required to disclose the progress reports it submitted to the court that issued the

wiretap order.

      Furthermore, the reasons for disclosing the reports outweigh any purported

basis for continued concealment of these highly relevant reports. The purpose of

ten-day reports is to “limit[] the extent of court authorized intrusions on the privacy

of oral communications.” Chimera, 201 F.R.D. at 76. In this case, the Defendants

intend to challenge the government’s compliance with the fundamental requirement

of avoiding unnecessary intrusions. It is incumbent on the Court to ensure that the

government in fact complied with these requirements in this case. The ten-day

reports contain information that is directly relevant to determining whether or not

the government met these requirements. The court in Chimera noted that “[a]n

attack upon the admissibility of evidence derived from a court authorized wiretap

or eavesdropping device is directed to the core of the government’s case.” Chimera,

201 F.R.D. at 75. It observed that “Title III applications and orders, like search

warrant applications and warrants, are considered documents material to the

defense under Rule 16(a)(1)(C).” Chimera, 201 F.R.D. at 76. The court concluded

that “a request for documents which relate to a possible challenge to the


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admissibility of evidence derived from orders issued pursuant to § 2518(1) is . . . for

the purpose of ‘preparation of the defendant’s defense,’ Fed. R. Crim. P. 16(a)(1)(C),

to the Government’s case in chief, and thus within the ambit of Rule 16(a)(1)(C).”

Chimera, 201 F.R.D. at 76.

      The disclosure of these reports prior to preparation of the motion to suppress

is necessary for the protection of the Defendant’s Fourth Amendment rights and

statutory rights under Title III. Without these reports, the Court will be unable to

ensure that the government has not violated Title III or the Fourth Amendment.

Belated disclosure of these reports may result in unnecessary delay in the

proceedings, undermining the efficient administration of criminal justice and

wasting scarce judicial resources.

      C.     Pen register records and printouts related to the investigation of
             telephone records.

      The government untenably continues to refuse to disclose pen register records

and printouts relating to investigation of telephone records prior to the issuance of

the wiretap. Compare Ex. A at 2, ¶ 4 with Ex. B at 2, ¶ 4. The only asserted ground

for this refusal is the claim that Rule 16 does not cover such reports.            The

government’s position is untenable because these records are material to




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determining whether or not the intrusive step of electronic surveillance was

necessary in this particular case.

      Federal courts have recognized that these reports are discoverable and

defendants are entitled to them. See, e.g., United States v. Feola, 651 F. Supp. 1068,

1144 (S.D.N.Y. 1987) (“[P]en register tapes, and telephone records are clearly

included under [Rule 16(a)(1)(C)] as discoverable objects to which defendants are

entitled.”). See generally 2 James G. Carr & Patricia L. Bellia, The Law of Electronic

Surveillance § 7:12 (2004). While it is true that there is some disagreement among

courts on the extent of discovery obligations in this area, and there is not much case

law in this area, see Wright, 121 F. Supp. 2d at 1349 (observing that “[o]nly a few

courts have issued written decisions on what documents are discoverable” in

anticipation of a challenge to the government’s compliance with Title III

requirements), there are compelling reasons for requiring disclosure in this case.

      The defendants and other individuals were subject to a wide-ranging and

extensive intrusion into their protected privacy interests as a result of the

government’s decision to initiate, and renew repeatedly, electronic eavesdropping

on a plethora of telephone calls without the consent or knowledge of the participants

in those private conversations. Title III was enacted to “limit[] the extent of court


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authorized intrusions on the privacy of oral communications.” Chimera, 201 F.R.D.

at 76 (citing United States v. Kahn, 415 U.S. 143, 154-55 (1974)). It is impossible to

honor the congressional purpose for this statute without disclosure of the

documents that contain the best material evidence of compliance with (or violation

of) the statutory requirements. The pen register records and related materials will

shine light on the state of the government’s knowledge at the time of the application

for the electronic surveillance authorization from the court. Consequently, they

contain indispensable of the necessity (or lack thereof) for this intrusive wiretap.

      D.     Logs and other materials related to monitoring and minimization.

      The government’s position with respect to documents and records pertaining

to the monitoring of electronic communications is similarly untenable. It asserts that

it need not disclose any records pertaining to minimization training, including

minimization instructions, minimization training manuals, materials used in

minimization instruction or training, sign-in sheets or similar records pertaining to

attendance at the training sessions, and training records. Compare Ex. A at 3, ¶ 16

with Ex. B at 3, ¶ 16.    Although the government asserts that all information

pertaining to minimization has already been provided, the government has not

produced any minimization logs, nor does the government refer to minimization


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logs in its response. Compare Ex. A at 3, ¶ 15 with Ex. B at 3, ¶ 15.

      Federal courts have recognized that minimization instructions given to the

individuals who perform the monitoring and staff the monitoring room or facility

are material to determining whether or not the government complied with Title III

requirements. See, e.g., Chimera, 201 F.R.D. at 78 (“[I]nstructions by counsel as to

how to maintain compliance with an intercept order have been held to be one factor

the court may consider in deciding whether the investigators’ alleged failure to

minimize constituted a violation of the statute.”).

      Federal courts have required the government to produce monitoring records

related to minimization. See also United States v. Wright, 121 F. Supp. 2d 1344, 1351

(D. Kan. 2000) (ordering government to produce electronic surveillance monitoring

logs); United States v. Green, 144 F.R.D. 631, 641 (W.D.N.Y. 1992) (ordering the

government to produce “notes on minimization,” which are required to demonstrate

compliance with minimization requirements of Title III, because these materials

related to minimization are “necessary” to determine the defendant’s motion to

suppress evidence obtained as a result of the Title III wiretap). Although there are

certainly going to be circumstances in which minimization records would not be

material, see, e.g., Chimera, 201 F.R.D. at 78-79, a leading treatise on the law of


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electronic surveillance counsels that “where the defense is challenging compliance

with the minimization requirement,” disclosure of “minimization instructions,

monitors’ logs, and progress reports should be routine.” Carr & Bellia, supra, at §

7:13 (emphasis added). The rationale for this is straightforward and compelling:

“These materials are the best evidence of what the monitoring agents were told

about the minimization directive and requirement, how they undertook to minimize

interception of non-pertinent conversations, and what they told the court during the

surveillance.” Carr & Bellia, supra, at § 7:13. Failure by the government to disclose

these materials in a timely fashion will waste scarce judicial resources and

needlessly cause delay in the administration of criminal justice: “If the defense does

not have these materials before the minimization hearing, the proceedings are likely

to be more protracted and time-consuming for all concerned, including the court.”

Carr & Bellia, supra, at § 7:13.

      To ensure that the court is fully equipped with all the relevant information to

determine whether or not the government complied with Title III minimization

requirements in the course of this wiretap, it is imperative that the government

disclose these vital records. See Green, 144 F.R.D. at 641 (ordering disclosure of

minimization notes). The defendants have made known from the beginning that


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they intend to challenge the government’s conduct of electronic surveillance in this

case and measure it against the requirements of Title III and the Fourth Amendment.

Ensuring that the monitoring agents complied with the law requires the disclosure

of records, documents, and materials related to mininization and monitoring. See

Wright, 121 F. Supp. 2d at 1351 (ordering disclosure of monitoring logs). The

government’s continued failure to disclose these highly relevant records will cause

unnecessary delay and waste scarce judicial resources. See Carr & Bellia, supra, at

§ 7:13 (noting that proceedings are likely to protracted and more time-consuming

where the defendants are denied access to these records prior to a hearing at which

the government’s compliance with minimization requirements is put to the test).

Accordingly, it is in the interest of justice for this Court to order that the government

disclose these records. See Carr & Bellia, supra, at § 7:13 (counseling that courts

make disclosure of minimization instructions and monitoring logs “routine” where

the defendants are challenging compliance with minimization requirements).




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                                  C ONCLUSION

      For the foregoing reasons, the defendants who are represented by court-

appointed counsel respectfully request this honorable Court to order the

government to disclose documents material to a determination whether the

government met Title III’s necessity and minimization requirements.                The

government’s continued concealment of these important documents will thwart the

congressional purpose in enacting Title III, prevent an independent determination

by this Court of the legality of the government’s conduct of the wiretap in this case,

and very likely lead to unnecessary delay in the course of these proceedings,

needlessly wasting scarce judicial resources.

                                       Respectfully submitted,



                                       Electronically filed
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                           C ERTIFICATE OF S ERVICE

      I hereby certify that on this 16 th day of July, 2006, I served a true and correct

copy of this motion by U.S. mail, postage prepaid, on counsel for the United States

at the address listed below:

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